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             IN THE UNITED STATES DISTRICT CIRCUIT COURT FOR THE
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 MARILYN MARGULIS,
                                                       Cause No. 4:21-cv-00391
                Plaintiffs,

        v.

 DIAMOND RESORTS INTERNATIONAL,
 INC., MICHAEL ALLEN FLASKEY and
 JOHN DOES 1-10

                Defendants.

   PLAINTIFF MARILYN MARGULIS’ DISMISSAL WITH PREJUDICE OF HER
 CLAIMS AGAINST DEFENDANTS DIAMOND RESORTS INTERNATIONAL, INC.
                   and MICHAEL ALLEN FLASKEY
                               and
DISMISSAL OF WITHOUT PREJUDICE OF HER CLAIMS AGAINST DEFENDANTS
                          JOHN DOES 1-10


       COMES NOW Plaintiff, MARILYN MARGULIS and the Defendants DIAMOND

RESORTS INTERNATIONAL, INC., and MICHAEL ALLEN FLASKEY, through their

undersigned attorneys, jointly stipulate under Federal Rule 41 (a) (1) (A) (ii) to the dismissal of

MARILYN MARGULIS’ claims against DIAMOND RESORTS INTERNATIONAL, INC., and

MICHAEL ALLEN FLASKEY with prejudice. John Does 1-10 are hereby dismissed without

prejudice. Each party to bear its own attorneys’ fees, costs, and expenses.

IT IS SO ORDERED.

       This the ______ day of ____________________, 2021.


       _______________________________
       Judge Noelle C. Collins


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/s/ Max G. Margulis                                    /s/ Benjamin D. Woodard
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                                                       Attorney for Defendant Diamond
                                                       Resorts International, Inc.




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of November, 2021, I submitted the foregoing via this
Court’s electronic operating system, which served notice of the filing on the Attorney for
Defendants.


                                          /s/ Max G. Margulis




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